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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

RUSS McCULLOUGH, et al.,                   : NO. 3:15-cv-01074-VLB
                                           : LEAD CASE
                   Plaintiffs,             :
                                           :
             vs.                           :
                                           :
WORLD WRESTLING ENTERTAINMENT,             :
INC.                                       :
                                           :
                   Defendant.              :


JOSEPH M. LAURINAITIS, et al.,             : NO. 3:16-CV-01209-VLB
                                           : CONSOLIDATED CASE
                   Plaintiffs,             :
                                           :
            vs.                            :
                                           :
WORLD WRESTLING ENTERTAINMENT,             :
INC., et al.,                              :
                                           :
                   Defendants.             : FEBRUARY 7, 2018


          DEFENDANT WORLD WRESTLING ENTERTAINMENT, INC.’S
              MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
             MOTION TO DEEM WWE’S STATEMENTS ADMITTED

      Defendant World Wrestling Entertainment, Inc. (“WWE”) respectfully

submits this memorandum in opposition to Plaintiffs’ Motion to Deem WWE’s

Statements Admitted (Doc. 368) (the “Motion”).

                                 I.   BACKGROUND

      Instead of permitting the Court to evaluate whether he had complied with

the Court’s Order of September 29, 2017, which he did not, Plaintiffs’ lead

counsel, Konstantine Kyros (“Kyros”), has once again decided to burden the

Court and WWE with the time and expense of dealing with another frivolous
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motion filed for an improper purpose. The subject matter, timing, and collateral

use of the Motion leave little doubt of its true and improper purpose.

      The subject matter involves Requests for Admission (“RFAs”) served on

WWE on September 20, 2017 while comprehensive motions to dismiss, for

sanctions, and for a stay of discovery were pending before the Court in the

Laurinaitis case, which is the latest defective lawsuit filed to date in a string of

defective lawsuits filed by Kyros over the last three years. Nine days after Kyros

served WWE with the RFAs, the Court issued a comprehensive opinion rejecting

the defective pleadings which had been filed in the Laurinaitis case and giving

Kyros one last chance to remedy his practice of defective pleadings and avoid

sanctions for his documented pattern of misconduct and ignoring prior Court

orders.

      In the September 29, 2017 Order on Defendants’ motions to dismiss and for

sanctions (Doc. 362) (the “Order”), the Court “reserve[d] judgment on these

motions pending the filing of amended pleadings consistent with this Order.”

(Order at 2). In doing so, the Court found that the amended complaint filed by the

Laurinaitis Plaintiffs “includes numerous allegations that a reasonable attorney

would know are inaccurate, irrelevant, or frivolous” — many of which are the

subject of the RFAs at issue — and “does not specify which claims apply to

which plaintiffs or how or why they do.” (Id. at 7-8). The Court further stated that

the amended complaint

      remains unnecessarily and extremely long, with an overwhelming
      number of irrelevant allegations. Parsing each of the Laurinaitis
      Plaintiffs’ asserted claims to figure out exactly which claims might
      be legally and factually supportable would be both a waste of judicial

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      resources. It would also be unduly prejudicial to the WWE and
      McMahon, because the precise contours of the Laurinaitis Plaintiffs’
      claims are so amorphous that the WWE and McMahon would be at a
      loss to determine how to defend against them.

(Id. at 20). In light of its rejection of the pleadings filed by Kyros, the Court ruled

that “discovery would be wasteful and unnecessary” where parties have

“asserted no facts establishing that they are entitled to discovery” and because

“[a] pleading cannot be filed without any factual support on vague hopes that

discovery will possibly unearth helpful facts.” (Id. at 16, 19).

      Thus, the Court ordered that, within 35 days of the date of the Order, the

Laurinaitis Plaintiffs were to file an amended complaint which “compl[ies] with

Federal Rules of Civil Procedure 8 and 9 and which set[s] forth the factual basis

of their claims . . . clearly and concisely in separately numbered paragraphs” and

“submit for in camera review affidavits signed and sworn under penalty of

perjury, setting forth facts within each plaintiff’s . . . personal knowledge that

form the factual basis of their claim,” including the information specified in the

Order. (Id. at 20). The Court concluded that, if Plaintiffs did not comply with the

Order, then “the Laurinaitis complaint will be DISMISSED with prejudice pursuant

to Federal Rule of Civil Procedure 41(b),” and “pursuant to Rule 11(c)(3), the court

will sua sponte revisit whether to award attorney’s fees as a sanction on the

Laurinaitis Plaintiffs’ counsel.” (Id. at 21-22).

      Upon receipt and review of the Order, counsel for WWE sought

confirmation from Kyros on October 2, 2017 that the RFAs were withdrawn and

that WWE would not have to incur the time and expense of drafting a formal

response to the RFAs. Despite the fact that a court order had issued only four

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days beforehand squarely indicating that discovery would not be appropriate,

Kyros took the position on October 3, 2017 that “we are within our rights to insist

on your Responses” to the RFAs. Therefore, on October 20, 2017, WWE timely

responded to Plaintiffs’ RFAs and objected to each request on the grounds that

“the Court’s rulings . . . make clear that Plaintiffs are not entitled to discovery at

this time and that responding to the Requests for Admission would cause WWE

to incur a needless burden and expense.” (Doc. 368-2 at 3). WWE also cited

abundant legal authorities for the proposition that, because the scope of

discovery under Fed. R. Civ. P. 26 is limited to matters relevant to a party’s claims

or defenses, Plaintiffs were not entitled to discovery since there was no

complaint defining the claims in this case and the Court would eventually

determine whether the amended complaint to be filed by Kyros complied with the

Order.1 (See id. at 3-5).

      At no time in the ensuing months did Kyros or any of his co-counsel have

any communications with WWE’s counsel regarding the objections interposed by

WWE to the RFAs. They neither sought, nor had, any meet and confer with

WWE’s counsel. Then, out-of-the-blue on January 17, 2018, Kyros filed the

Motion, evidently to burden the Court, harangue WWE, and create more grist for

his internet blog which he uses to promulgate false, misleading, and incomplete

statements about the conduct of the litigation, the Court’s rulings, and WWE

positions on certain issues.2

1
  On November 3, 2017, Plaintiffs filed their second amended complaint (Doc.
363), which Defendants do not believe complies with the Order. (See Doc. 365).
2
  Despite the Court’s repeated criticism that Kyros makes filings which “appear
aimed at an audience other than this Court” (Order at 6-7 (quoting Doc. 116 at
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                                 II.    ARGUMENT

A.    Plaintiffs Are Not Entitled to Discovery Until the Court Determines Whether
      They Have Complied with the Order

      The Court’s Order made clear that Plaintiffs were not entitled to discovery

and that the Court would determine if Kyros and his co-counsel complied with the

Order as the next step in the process. In the Order, the Court specifically

recognized that it would be “unduly prejudicial to the WWE and McMahon” to

attempt to “[p]ars[e] each of the Laurinaitis Plaintiffs’ asserted claims to figure

out exactly which claims might be legally and factually supportable.” (Order at

20). The Court further noted that “discovery would be wasteful and unnecessary”

where parties have “asserted no facts establishing that they are entitled to

discovery.” (Id. at 19). Due to such findings, the Court held that Defendants’

Motion to Stay Discovery was moot. (See Doc. 362) (docket text).

      Notably, the Motion completely fails to address or even mention the Court’s

specific finding made nine days after the RFAs were served that they were not

entitled to discovery. Nothing has changed since the Court issued its Order, and

the Court still has the issues on which it reserved judgment under consideration.

B.    Because WWE Timely Responded to the RFAs, There Is No Basis to Deem
      Them Admitted In Any Event

      Despite conceding — as they must — that WWE in fact responded by

______________________
13)), less than 24 hours after filing the Motion, Kyros posted the Motion on his
blog at http://wweconcussionlawsuitnews.com along with the following statement
that misrepresents WWE’s obligations under the Federal Rules and WWE’s actual
responses to the RFAs: “On January 17, 2018 the plaintiffs filed a motion to deem
fifty statements of fact admitted by the WWE. The WWE’s lawyers had responded
evasively by objecting to the requests which are required to be admitted or
denied under the Federal Rules. The purpose of these rules is to get facts on the
record in the lawsuit something which the WWE does not want to do.”

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objecting to the RFAs, Plaintiffs nevertheless erroneously assert that the RFAs

should be deemed admitted because WWE failed “to timely deny the Plaintiffs’

RFAs.” (Motion at 5-6). Rule 36, however, requires no such thing. On the

contrary, Rule 36(a)(1)(3) provides that “[a] matter is admitted unless, within 30

days after being served, the party to whom the request is directed serves on the

requesting party a written answer or objection addressed to the matter and

signed by the party or its attorney” (emphasis added). Based on this plain

language, courts in this District have interpreted Rule 36 to provide “that a party

responding to requests for admission may either admit, deny, object to the

request with the reasons therefor, or set out in detail the reasons why he or she

cannot respond.” Valley Housing Ltd. P’ship v. City of Derby, No. 3:06CV1319

(RNC), 2008 WL 178587, at *1 (D. Conn. Jan. 17, 2008) (emphasis added). Indeed,

the very authorities cited in Plaintiffs’ Motion hold likewise. See Motion at 5

(citing Young v. Leon, No. 3:14-cv-01337 (CSH), 2015 WL 3476822, at *3 (D. Conn.

June 2, 2015) (quoting Cohalan v. Genie Indus., Inc., 276 F.R.D. 161, 163 (S.D.N.Y.

2011)) (“failure to respond or object to a discovery request in a timely manner

waives any objection which may have been available”) (emphasis added)).

      Significantly, courts in this Circuit and elsewhere have specifically rejected

the identical argument Plaintiffs assert here. See Synventive Molding Solutions,

Inc. v. Husky Injection Molding Systems, Inc., No. 2:08-CV-136, 2010 WL

11537874, at *3 (D. Vt. Feb. 10, 2010) (“Because Synventive timely objected,

Husky’s motion is denied insofar as Husky wants its requests deemed

‘admitted.’”) (citing Strauss v. Credit Lyonnais, S.A., 242 F.R.D. 199, 226 n.26



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(E.D.N.Y. 2007)); see also Whitney v. City of Milan, No. 1:09-cv-01127-JDB-egb,

2014 WL11398537, at *6 (W.D. Tenn. Feb. 25, 2014) (rejecting plaintiff’s motion to

have requests for admission as facts deemed admitted because “[t]he Court finds

Plaintiff’s interpretation of Rule 36 untenable in light of the Rule’s plain language .

. . . [Defendant] complied with the Rule, and avoided triggering automatic

admissions, by timely serving Plaintiff with ‘objections addressed to’ the various

matters asserted in the requests.”); Stipp v. Allen, No. CIV A4:98-CV-82 (JRE),

1999 WL 1332379, at *1 (M.D. Ga. Dec. 13, 1999) (denying plaintiff’s motion to

deem admitted requests for admission because defendant served timely

objections). In emphatic terms, one court characterized a motion for summary

judgment based on the defendant’s purported failure to respond to requests for

admissions as “completely frivolous” because it was “based solely on a blatant

misrepresentation to the Court that the [defendant] has not responded to her First

Request for Admissions. In fact, the [defendant] responded to the request with

an objection. . . . As such, [plaintiff’s] Motion for Partial Summary Judgment is

wholly without merit.” Stipp, 1999 WL 1332379, at *1.

C.    Plaintiff’s Motion Should Also Be Denied For Failure to Satisfy the Meet and
      Confer Requirement Under Local Rule 37(a)

      In violation of Local Rule 37(a), Plaintiffs’ counsel filed the Motion without

making any attempt to confer with WWE’s counsel regarding the discovery issues

addressed by the Motion. Local Rule 37(a) provides that:

      No motion pursuant to Rules 26 through 37, Fed.R.Civ.P. shall be
      filed unless counsel making the motion has conferred, in person or
      by telephone, with opposing counsel and discussed the discovery
      issues between them in detail in a good faith effort to eliminate or
      reduce the area of controversy, and to arrive at a mutually

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      satisfactory resolution. In the event the consultations of counsel do
      not fully resolve the discovery issues, counsel making a discovery
      motion shall file with the Court, as a part of the motion papers, an
      affidavit certifying that he or she has conferred with counsel for the
      opposing party in an effort in good faith to resolve by agreement the
      issues raised by the motion without the intervention of the Court,
      and has been unable to reach such an agreement.

D. Conn. L. Civ. R. 37(a) (emphasis added). As Plaintiffs’ motion challenging

WWE’s objections to the RFAs is made pursuant to Rule 36, it must satisfy the

requirements of Local Rule 37(a). See Young v. Long, No. 3:08-CV-501, 2009 WL

1929083, at *2 (D. Conn. July 2, 2009) (holding that parties must comply with Rule

37(a) requirement to confer in good faith in an attempt to narrow their dispute

regarding requests for admissions); Brown v. UConn Med. Grp., No. 3:12-CV-

1305(JBA), 2014 WL 2804345, at *2-3 (D. Conn. June 20, 2014) (denying motion to

compel responses to requests for admissions and interrogatories, in part,

because plaintiff did not comply with Local Rule 37 requirements).

      “The failure to follow the meet and confer requirement is a sufficient basis

for denying the motion to compel.” Brown v. Clayton, No. 3:11-CV-714(JCH), 2013

WL 1409884, at *2 (D. Conn. Apr. 8, 2013). Courts have routinely denied discovery

motions for failure to comply with the meet and confer requirement under Local

Rule 37(a). See id.; Doe v. Mastolini, 307 F.R.D. 305, 313-14 (D. Conn. 2015)

(denying motion to compel because “we cannot conclude that Plaintiffs have

made a good faith effort to resolve the discovery disputes on their own before

seeking the assistance of the Court.”); Saliga v. Chemtura Corp., No. 3:12-CV-

832(VAB), 2015 WL 851849, at *1-2 (D. Conn. Feb. 26, 2015) (denying motion to

compel where “plaintiff made no genuine, good faith effort to narrow and/or



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resolve the discovery dispute before seeking judicial intervention”).

      In this case, Plaintiffs’ counsel made no attempt to confer with WWE’s

counsel in the three months since they received WWE’s objections to the RFAs —

much less actually discuss the issues presented by WWE’s objections prior to

filing their Motion. Moreover, Plaintiffs could not and did not include in their

Motion the required affidavit certifying that they had conferred in good faith with

WWE’s counsel in an attempt to resolve the dispute. The failure to do so is yet

another example of Kyros’ failure to comply with basic and fundamental rules

regarding motion practice, and evidences that his real purpose was to create

misleading content for his internet blog.

      As a result of Plaintiffs’ failure to meet and confer as required by Local

Rule 37(a) and the improper purpose behind the Motion, WWE should be awarded

its attorney’s fees and costs incurred in connection with the Motion. See Saliga,

2015 WL 851849, at *2 (awarding defendant its reasonable attorney’s fees and

costs where plaintiff filed motion to compel without complying with the meet and

confer requirement); Brown, 2013 WL 1409884, at *2 n.3 (“failure to hold a good

faith conference is ground for the award of attorney’s fees and other sanctions”)

(internal quotations omitted).

                                 III.   CONCLUSION

      For all of the foregoing reasons, Plaintiffs’ Motion should be denied and

WWE should be awarded its attorney’s fees and costs incurred in connection with

the Motion.




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                               DEFENDANT WORLD WRESTLING
                               ENTERTAINMENT, INC.,


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                                   CERTIFICATION

       I hereby certify that on February 7, 2018 a copy of foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.

                                                    _/s/ Jeffrey P. Mueller__________
